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       APPENDIX C
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                                     NON NOBIS DOMINE




                                               February 12, 2021

Your Honor:

I am the executive director of ​The High Impact Network of Responsible Innovators​ (HINRI)
and I am writing this letter on behalf of Parker Petit.

HINRI’s mission is “to connect social entrepreneurs and innovative organizations to sources of
capital, strategic partners, technology solutions and servant leaders so they are more effective
at saving lives, saving money and having a sustainable impact.” We are essentially an
incubator that helps social entrepreneurs launch effective, scalable nonprofit organizations.

This “network of responsible innovators” is composed of people like Mr. Petit who have had a
successful career, possess valuable skills and expertise, and want to donate those skills to have
a “high impact” on people’s lives.

We often help organizations with their strategy, finance, marketing and, in some cases, even
helping them navigate government regulatory issues. Given Mr. Petit’s lifetime of experience
in building successful organizations and his specific expertise in healthcare, he can be an
invaluable resource to HINRI in helping these organizations grow and have a greater impact in
helping more people.

Here are three examples:

Our “​Reversing Paralysis​” project (https://www.hinri.org/hinri-labs) is funding an exploratory
clinical trial with UCLA to help patients diagnosed with “permanent” spinal cord injuries gain
access to life-changing therapies. In addition to funding the clinical trial, we are developing a
strategy for FDA approval that includes partnerships with other academic institutions and the
U.S. Veterans Administration. Our goal is to change the standard of care so all patients with
“permanent” spinal cord injuries have access (FDA approval) and so insurance will reimburse
these devices and therapies, especially for those who cannot afford it. Unfortunately private
insurance does not currently reimburse therapy for those with “permanent” spinal cord
injuries, even though we have demonstrated they can regain function. These are complex
challenges, which is why Mr. Petit’s expertise would be incredibly valuable.

In global health, we recently helped launch the ​Center for Global Health Innovation and a
Global Health Innovation campus​ (https://www.hinri.org/global-health-innovation-campus) –
a partnership of 250 of the largest corporations, foundations, nonprofits, and government
organizations in Atlanta. Our goal is to expedite development and distribution of medical


                      HINRI ​— The ​High Impact Network of Responsible Innovators
                           641 Loridans Drive, NW, Atlanta, Georgia 30342
                                 www.HINRI.org · Tel. 404-791-2650
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devices, vaccines and other medical technology to the developing world. This project will
require the guidance and sophisticated knowledge of healthcare industry experts such as Mr.
Petit.

HINRI recently worked with Georgia Tech to launch the Creative Destruction Lab (CDL) in
Atlanta. CDL is a nonprofit organization that delivers an objectives-based program for
massively scalable, seed-stage, science and technology-based companies. HINRI is helping by
recruiting successful entrepreneurs who volunteer to help mentor these young companies. This
is provided at no charge to these companies. Our focus in Atlanta last year were companies
responding to the COVID crisis, but we are also working on launching a Bioengineering track
next year.

As you can see, with these large healthcare projects and a small staff, we are dependent upon
people like Mr. Petit donating their time and skills to further our mission. The next couple of
years will be the most demanding for us as we execute these initiatives, and having Mr. Petit
to aid and guide us in these efforts will be transformational.

Thank you very much for your consideration.

                                              Sincerely,




                                              Kelly McCutchen
                                              Executive Director




                                641 Loridans Dr NE, Atlanta, GA 30342
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                          THE SPIRIT OF AMERICA FOUNDATION


February 9, 2021


Hon. Jed S. Rakoff
United States District Judge
Southern District of New York
United States Courthouse
Room 1340
500 Pearl Street
New York, NY 10007

Dear Sir,

       It is with deep respect that I’m writing to you in support of Community Service being the
sentence given to Mr. Parker H. “Pete” Petit in his upcoming sentencing hearing on February 23,
2021.

       In my correspondence today, I want to briefly share with you how valuable it would be to
our non-profit organization to have Mr. Petit serve some of his Community Service on behalf of
our Spirit of America Foundation, a 501-c(3) corporation that I founded on January 1st, 1993.

        Ours ia a nationally-focused organization dedicated to eradicating hopelessness among
teenagers and by so doing, bringing an end to teenage suicide. We believe that in the simplest of
terms, the truest antithesis of hopelessness is hope. And to this end, we also believe that when a
teenager and young adult discover the very purpose for his or her life, the true power of hope is
released and as it is, vision becomes an agent of change. Because I have spoken with millions of
teenagers throughout America and in multiple nations of the world, I know firsthand what can
happen when a young person connects with a mentor who genuinely cares about his or her life and
their respective future.

        I know NO ONE whom I’d rather represent our organization and to have consistently sit
with groups of teenagers from all socio-economic backgrounds, pouring into their lives, from his
very successful and meaningful life, than Mr. Pete Petit. When I think about an ongoing
conversation between teenagers and Pete, and the vast amount of knowledge and life experience
that he could invest into the lives of this next generation of leaders, I respectfully request your
thoughtful consideration to this suggestion of Mr. Petit’s Community Service and specifically, teen
mentorship alongside our Organization.




POST OFFICE BOX 8915          CHATTANOOGA, TENNESSEE 37414               WWW.DEANSIKES.NET
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The Honorable Jed S. Rakoff
February 9, 2021
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       In my own sitting with teenagers after our assembly and chapel programs, universally I’ve
seen that young people most often learn about life from one of four ways: failures or fathers,
mentors or mistakes. Pete has so much to offer and we could use his help immediately.

        Additionally, as part of his Community Service, Mr. Petit, being the cheerleader he is for
so many people and organizations, would be of tremendous value in leading a capital campaign in
helping to secure funding from men and women who do not yet know of our Spirit of America
Foundation. Again, I can think of NO ONE I’d rather have at this point in his life than Mr. Petit
representing our organization to those who might become interested in contributing financially
into our life’s work.

       And finally, I believe in the power of counsel. Through the years, I’ve learned the value of
leaning heavily on Mr. Petit for his counsel, guidance, and his leadership. Pete is a voice I trust
and counsel I need. Having more of him via Community Service sure would be of tremendous
value as our Organization continues to grow and reach more students with our message of hope.

       Thank you, Sir, for taking time from your schedule to read my letter. In it, I trust that as
you have read my words, you have heard my heart.


       Sincerely Yours,

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       Dean Sikes
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IDEALS
                                                                                                Learn • Lead • Leverage




 February 9,2021

 The Honorable Jed S. Rakoff
 United States District Judge
 Southern District of New York
 United States Courthouse
 Room 1340
 500 Pearl Street
 New York, NY 10007


 Dear Judge Rakoff,


 I'm writing this letter on behalf of Pete Petit. Mr Petit has been involved as a Donor and Encourager to
 my 501-c-3 IDEALS Foundation, Inc. for several years. Our Foundation began in 1993 focusing on helping
 high school students become more effective leaders and positive role models in their schools. That
 program is now entering its 28 th year. In addition to that program, we began to expand our impact by
 developing programs for high school and middle school students to help them develop the necessary life
 skills needed to be productive employees and live meaningful lives. Young people today are not
 receiving the basic life skills training at home that previous generations received, and our mission is to
 try to fill that void. In 2017 the State Board of Education of Georgia asked us to develop our most recent
 set of programs. We are also having talks with schools in other states.


 I am told that Mr. Petit will be asking for "Community Service" as part of his sentence. I think that the
 IDEALS Foundation could certainly utilize Mr. Petit's time very effectively with our planning, processes,
 and operating execution. We want to take our successful programs and scale them nationally to be able
 to impact more young people. I am looking forward to taking advantage of Mr. Petit's experience to help
 IDEALS accomplish that.


 Judge Rakoff, in considering Mr. Petit's future, I want to sincerely encourage you to understand the
 impact he has already had on the thousands of young people we currently serve each year, and the tens
 of thousands more we could be serving with his active involvement going forward. Thank you for your
 consideration and allowing me to share my thoughts about Pete Petit and what he means to me
 personally and to our IDEALS organization.


 Sincerely,




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                 www.idealsleadership.org . jackw@idealsleade rship.org . 45CheshireWayLawrenceville.GA 30043
